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                             UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF PENNSYLVANIA


  LAP DISTRIBUTORS, INC., a                           Case No. :
  Pennsylvania corporation, individually and
  on behalf of all others similarly situated,
                                                      CLASS ACTION COMPLAINT
                   Plaintiff,

            v.                                        DEMAND FOR JURY TRIAL

  QUADISCO, INC. D/B/A QUADIS
  VOICE & DATA SOLUTIONS, a
  Pennsylvania corporation,

                   Defendant.



              CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff Lap Distributors, Inc. (“Lap Distributors” or “Plaintiff”) brings this Class Action

Complaint and Demand for Jury Trial (“Complaint”) against Defendant Quadisco, Inc. d/b/a

Quadis Voice & Data Solutions (“Quadisco” or “Defendant”) to: (1) stop Defendant’s practice of

sending unauthorized and unwanted fax advertisements; and (2) obtain redress for all persons

and entities injured by its conduct. Plaintiff, for its Complaint, alleges as follows upon personal

knowledge as to itself and its own acts and experiences, and, as to all other matters, upon

information and belief, including investigation conducted by its attorneys.

                                   NATURE OF THE ACTION

       1.        Quadisco provides voice and data communications products and systems to

businesses in the Pennsylvania, New Jersey, and Delaware areas.

       2.        In an attempt to generate sales leads, and ultimately increase its revenues,

Quadisco created a fax-based marketing campaign wherein it sent numerous unsolicited faxes
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advertising its products and services.

       3.      Quadisco sent the fax advertisements at issue to Plaintiff and members of the

Classes (defined below) despite: (i) having no previous relationship with them; and (ii) never

receiving the recipients’ consent to receive such faxes.

       4.      The federal Telephone Consumer Protection Act of 1991, as amended by the Junk

Fax Prevention Act of 2005, 47 U.S.C. § 227 (“JFPA” or the “Act”), and the regulations

promulgated under the Act, prohibits a person or entity from faxing or having an agent fax

advertisements without the recipient’s prior express consent, invitation, and permission. The

JFPA provides a private right of action and provides statutory damages of $500 per violation,

which, to the extent Defendant’s misconduct is determined to be willful, the Court may treble

under 47 U.S.C. § 227(b)(3).

       5.      As such, Defendant’s fax advertisements violate the JFPA, and caused Plaintiff

and members of the Classes to suffer actual harm, including the aggravation and nuisance of

receiving such faxes, the loss of use of their fax machines during the receipt of such faxes,

increased labor expenses, and the loss of any ink and paper used to print them.

       6.      Accordingly, Plaintiff seeks an injunction requiring Quadisco to cease all

unauthorized fax-based marketing activities, as well as an award of actual and statutory damages

to the members of the Classes, along with costs and reasonable attorneys’ fees.

                                             PARTIES

       7.      Plaintiff Lap Distributors is a corporation incorporated and existing under the

laws of the Commonwealth of Pennsylvania.

       8.      Defendant Quadisco is a corporation incorporated and existing under the laws of

the Commonwealth of Pennsylvania. Quadisco maintains its principal office at 4801 Horseshoe



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Pike, Bldg. # 1, Downingtown, PA 19335. Quadisco systemically and continuously conducts

business throughout this District, the Commonwealth of Pennsylvania, and the United States.

Quadisco can be served through its registered agent, William Best, located at 4801 Horseshoe

Pike, Bldg. # 1, Downingtown, PA 19335.

                                     JURISDICTION & VENUE

        9.         This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§ 1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C. § 227, a

federal statute.

        10.        The Court has personal jurisdiction over Quadisco and venue is proper in this

District because the wrongful conduct giving rise to Plaintiff’s cause of action occurred in or was

directed from this District. Additionally, venue is proper in this District because Plaintiff and

Defendant both reside in this District.

                               COMMON ALLEGATIONS OF FACT

        11.        Quadisco designs, sells, installs, and services voice and data communication

systems for businesses.

        12.        In order to boost sales and increase its revenues, Quadisco sends numerous faxes

advertising its voice and data communication systems.

        13.        Quadisco sends these fax advertisements to individuals and businesses with which

it has no prior relationship, and without their permission or consent, in violation of the JFPA.

        14.        The faxes sent by Quadisco constitute advertisements because they promote the

commercial availability and quality of goods and services, available for purchase through

Quadisco.

        15.        Quadisco used a telephone facsimile machine, computer or other device to send



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the fax advertisements at issue.

                   FACTS SPECIFIC TO PLAINTIFF LAP DISTRIBUTORS

        16.      On October 23, 2018, Quadisco used a telephone facsimile machine to send an

unsolicited fax advertisement to Plaintiff Lap Distributors. (A true and accurate copy of the

October 23, 2018 fax advertisement is attached hereto as Exhibit A).

        17.      Defendant’s October 23, 2018 fax promoted its digital phone systems. (See Ex.

A.)

        18.      On November 19, 2018, Plaintiff’s counsel notified Defendant via facsimile and

electronic mail that Quadisco’s October 23, 2018 fax to Plaintiff had violated the TCPA, and

offered to settle Plaintiff’s claims.

        19.      Instead of responding to Plaintiff’s counsel, on January 16, 2019, Quadisco sent a

second unsolicited fax advertisement to Plaintiff Lap Distributors. (A true and accurate copy of

the January 16, 2019 fax advertisement is attached hereto as Exhibit B).

        20.      Plaintiff Lap Distributors had no prior business relationship with Quadisco and

had never provided it with consent to receive advertisements through any medium, let alone

facsimiles.

        21.      Quadisco created the content of the fax advertisements and transmitted them to

Plaintiff and members of the Class with the intention of generating sales and increasing its

revenues.

                                 CLASS ACTION ALLEGATIONS

        22.      Plaintiff brings this action pursuant to Federal Rules of Civil Procedure 23(b)(2)

and 23(b)(3) individually and on behalf of the classes defined as follows:

              No Consent Class: All persons and entities who (i) in the four years
              preceding the filing of this action, (ii) received a telephone facsimile

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             advertisement, (iii) sent by, or on behalf of, Quadisco, (iv) for whom
             Quadisco did not have a record of prior express consent to send the facsimile
             advertisements at the time they were sent.

             Stop Class: All persons and entities who (i) in the four years preceding the
             filing of this action, (ii) received a telephone facsimile advertisement, (iii) sent
             by, or on behalf of, Quadisco, (iv) after the person or entity informed
             Quadisco that they no longer wished to receive facsimile advertisements from
             Defendant.

       23.       The following people are excluded from the Classes: (1) any Judge or Magistrate

presiding over this action and members of their families; (2) Defendant, Defendant’s

subsidiaries, parents, successors, predecessors, and any entity in which Defendant or its parents

have a controlling interest and its current or former employees, officers and directors; (3) persons

who properly execute and file a timely request for exclusion from the Classes; (4) persons whose

claims in this matter have been finally adjudicated on the merits or otherwise released; (5)

Plaintiff’s counsel and Defendant’s counsel; and (6) the legal representatives, successors, and

assigns of any such excluded persons.

       24.       Numerosity: The exact size of the Classes is unknown and unavailable to

Plaintiff at this time, but it is clear that individual joinder is impracticable. On information and

belief, Quadisco faxed unsolicited advertisements to thousands of individuals and entities who

fall into the definition of the Classes. Class membership can be easily determined from

Defendant’s records.

       25.       Typicality: Plaintiff’s claims are typical of the claims of the other members of the

Classes. Plaintiff is a member of the Classes, and if Quadisco violated the JFPA with respect to

Plaintiff, then it violated the JFPA with respect to the other members of the Classes. Plaintiff and

members of the Classes sustained damages as a result of Defendant’s uniform wrongful conduct.

       26.       Commonality and Predominance: There are many questions of law and fact



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common to the claims of Plaintiff and the Classes, and those questions predominate over any

questions that may affect individual members of the Classes. Common questions for the Classes

include, but are not necessarily limited to, the following:

                No Consent Class:

       a.       How Quadisco gathered, compiled, or obtained the fax numbers of Plaintiff and

                the No Consent Class;

       b.       Whether Defendant’s faxes advertised the commercial availability or quality of

                property, goods, or services;

       c.       Whether Quadisco sent the fax advertisements without first obtaining Plaintiff and

                the No Consent Class’s prior express consent to do so;

       d.       Whether Quadisco sent the fax advertisements without first obtaining Plaintiff and

                the No Consent Class’s prior permission or invitation to do so; and

       e.       Whether Defendant’s conduct was willful such that Plaintiff and the No Consent

                Class are entitled to treble damages.

                Stop Class:

       a.       Whether members of the Stop Class properly revoked their consent by

                communicating a desire to no longer receive fax advertisements from Quadisco;

                and

       b.       Whether Quadisco sent fax advertisements to members of the Stop Class even

                after those members had revoked consent.

       27.      Adequate Representation: Plaintiff will fairly and adequately represent and

protect the interests of the Classes and has retained counsel competent and experienced in

complex class actions. Plaintiff has no interest antagonistic to those of the Classes, and Quadisco



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has no defenses unique to Plaintiff.

        28.      Policies Generally Applicable to the Classes: This class action is appropriate for

certification because Defendant has acted, or refused to act on, grounds generally applicable to

the Classes as a whole, thereby requiring the Court’s imposition of uniform relief to ensure

compatible standards of conduct toward the members of the Classes and making final injunctive

relief appropriate with respect to the Classes as a whole. Defendant’s practices challenged herein

apply to and affect the members of the Classes uniformly, and Plaintiff’s challenge of those

practices hinges on Defendant’s conduct with respect to the Classes as a whole, not on facts or

law applicable only to Plaintiff.

        29.      Superiority: This case is also appropriate for class certification because class

proceedings are superior to all other available methods for the fair and efficient adjudication of

this controversy given that joinder of all parties is impracticable. The damages suffered by the

individual members of the Classes will likely be relatively small, especially given the burden and

expense of individual prosecution of the complex litigation necessitated by Defendant’s actions.

Thus, it would be virtually impossible for the individual members of the Classes to obtain

effective relief from Defendant’s misconduct. Even if members of the Classes could sustain such

individual litigation, it would still not be preferable to a class action, because individual litigation

would increase the delay and expense to all parties due to the complex legal and factual

controversies presented in this case. By contrast, a class action presents far fewer management

difficulties and provides the benefits of single adjudication, economy of scale, and

comprehensive supervision by a single court. Economies of time, effort, and expense will be

fostered and uniformity of decisions ensured.




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                                FIRST CAUSE OF ACTION
                                 Violation of 47 U.S.C. § 227
                       (On Behalf of Plaintiff and the No Consent Class)

       30.      Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       31.      The JFPA makes it unlawful for any person to “use any telephone facsimile

machine, computer or other device to send, to a telephone facsimile machine, an unsolicited

advertisement. . . .” 47 U.S.C. § 227(b)(1)(C).

       32.      The JFPA defines “unsolicited advertisement” as “any material advertising the

commercial availability or quality of any property, goods, or services which is transmitted to any

person without that person’s prior express invitation or permission, in writing or otherwise.” 47

U.S.C. § 227(a)(5).

       33.      The faxes sent by Quadisco advertised the commercial availability and quality of

its goods and services and were commercial in nature. Therefore, Defendant’s faxes are

advertisements under the JFPA.

       34.      Quadisco sent the facsimile advertisements at issue to Plaintiff and members of

the No Consent Class without their prior express invitation or consent, and despite the lack of

any prior business relationship between it and members of the No Consent Class.

       35.      By sending the unsolicited advertisement faxes at issue to Plaintiff and members

of the No Consent Class without their prior express consent, Quadisco violated 47 U.S.C. §

227(b)(1)(C).

       36.      As a result of Defendant’s conduct, Plaintiff and members of the No Consent

Class suffered actual damages, including the conversion or loss of paper and toner consumed in

the printing of the faxes, the loss of use of the recipients’ fax machines during the time required

to receive, review and route the unauthorized faxes, as well as increased labor expenses.



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       37.      Plaintiff and the No Consent Class are therefore entitled to a minimum of $500 in

damages for each violation under 47 U.S.C. § 227(b)(3)(B). To the extent Defendant’s

misconduct is determined to be willful, the Court should treble the amount of statutory damages

under 47 U.S.C. § 227(b)(3). The standard for finding willful “intent for treble damages does not

require any malicious or wanton conduct, but rather is satisfied by merely ‘knowing’ conduct.”

Alea London Ltd. v. Am. Home Servs., Inc., 638 F.3d 768, 776 (11 Cir. 2011).

       38.      Additionally, as a result of Defendant’s unlawful conduct, Plaintiff and the other

members of the No Consent Class are entitled to an injunction under 47 U.S.C. § 227(b)(3)(A),

to ensure that Defendant’s violations of the JFPA do not continue into the future.

                               SECOND CAUSE OF ACTION
                                 Violation of 47 U.S.C. § 227
                           (On Behalf of Plaintiff and the Stop Class)

       39.      Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       40.      Defendant sent facsimile advertisements to Plaintiff and the other members of the

Stop Class after they had informed Defendant to stop contacting them.

       41.      By sending unsolicited facsimile advertisements to Plaintiff and other members of

the Stop Class after they requested to no longer receive such facsimile advertisements, Defendant

violated 47 C.F.R. §64.1200(a)(4)(vi) by doing so without prior express written consent.

       42.      As a result of Defendant’s conduct, Plaintiff and members of the Stop Class

suffered actual damages, including the conversion or loss of paper and toner consumed in the

printing of the faxes, the loss of use of the recipients’ fax machines during the time required to

receive, review and route the unauthorized faxes, as well as increased labor expenses.

       43.      Plaintiff and the Stop Class are therefore entitled to a minimum of $500 in

damages for each violation under 47 U.S.C. § 227(b)(3)(B). To the extent Defendant’s



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misconduct is determined to be willful, the Court should treble the amount of statutory damages

under 47 U.S.C. § 227(b)(3). The standard for finding willful “intent for treble damages does not

require any malicious or wanton conduct, but rather is satisfied by merely ‘knowing’ conduct.”

Alea London Ltd. v. Am. Home Servs., Inc., 638 F.3d 768, 776 (11 Cir. 2011).

        44.    Additionally, as a result of Defendant’s unlawful conduct, Plaintiff and the other

members of the Stop Class are entitled to an injunction under 47 U.S.C. § 227(b)(3)(A), to

ensure that Defendant’s violations of the JFPA do not continue into the future.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Lap Distributors on behalf of itself and the Classes, prays for

the following relief:

               1.       An order certifying the Classes as defined above, appointing Lap

Distributors as the representative of the Classes, and appointing its counsel as Class Counsel;

               2.       An order declaring that Defendant’s actions, as set out above, violate the

JFPA;

               3.       An order declaring that Defendant’s faxes constitute unsolicited

advertisements, and that Quadisco sent the faxes without first obtaining prior express invitation,

permission or consent of the recipients, and enjoining Quadisco from further violations, and

otherwise protecting the interests of the Classes;

               4.       An award of actual and statutory damages;

               5.       An award of pre-judgment interest;

               6.       An award of reasonable attorneys’ fees and costs; and

               7.       Such further and other relief the Court deems reasonable and just.




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                                       JURY DEMAND

             Plaintiff requests a trial by jury of all claims that can be so tried.

                                             Respectfully submitted,

                                             LAP DISTRIBUTORS, INC., individually and on
                                             behalf of all others similarly situated



Dated: May 20, 2019                          By:
                                                     One of Plaintiff’s Attorneys

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               Exhibit A




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               Exhibit B




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